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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

LOIS ANN GIBSON, et al.                   :

       Plaintiffs,                        :

v.                                        :      Case No. 1:22-cv-01642-GLR

FREDERICK COUNTY, MD, et al.              :

       Defendants.                        :

*      *       *     *      *      *      *      *        *     *     *      *       *

                                ENTRY OF APPEARANCE

       Please enter the appearance of Philip E. Culpepper as counsel for the Defendant Anne

Arundel County, Maryland in the above-captioned case.

                                                 Respectfully submitted,

                                                 GREGORY J. SWAIN
                                                 County Attorney



                                                 /S/      Philip E. Culpepper
                                                 Philip E. Culpepper
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                                                 Attorney for the Defendant
                                                 Anne Arundel County, Maryland




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 28th day of September 2022, I filed the foregoing Entry
of Appearance electronically via the Court’s ECF electronic-filing system, which will make
service upon all parties so entitled.



                                                  /S/     Philip E. Culpepper
                                                  Philip E. Culpepper




                                    {00377823.DOCX; 1}2
